
PER CURIAM:
This claim was submitted for decision based on the allegations of the Notice of Claim and the respondent’s Answer.
Claimant seeks payment of the sum of $246.53 for gasoline furnished to the Huttonsville Correctional Center. In its Answer, the respondent admits the validity of the claim, but also states that there were no funds remaining in the respondent’s appropriation for the fiscal year in question from which the obligation could have been paid.
While we feel that this is a claim which in equity and good conscience should be paid, we are of the further opinion that an award cannot be made, based on our decision in Airkem Sales and Service, et al. v. Department of Mental Health, 8 Ct.Cl. 180 (1971).
Claim disallowed.
